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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA (SAN JOSE)

ROBERT PRITIKIN, et al., Case No.: C09 03303 JF
Plaintiffs, STIPULATION TO CONTINUE CASE
vs MANAGEMENT CONFERENCE
COMERICA BANK, et al. [Local Rules 7-12, 16-2(d)]
Defendants

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STIPULATION TO CONTINUE CASE MANAGEMENT CONFERENCE

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IT IS HEREBY STIPULATED by and between the Plaintiffs and Defendant
COMERICA BANK through their respective counsel that the Case Management Conference
which is currently set for November 20, 2009 at 10:30 a.m., be continued for a period of
approximately thirty (30) days.

This Stipulation is made at the request of Plaintiffs, who are in the process of
associating additional legal counsel in this action, and who have proposed a 30-day
continuance in the date of the Case Management Conference in order to afford said associated
counsel a reasonable opportunity to become familiarized with the legal and factual issues in
this case and to thus meaningfully participate in the scheduling issues which are to be

addressed at the Case Management Conference.

DATED: ll / 4 / ? 4 LAW OFFICE OF ROBERT LUBIN
. LAW OFFICE OF KENNETH PRITIKIN

YT

ROBERT LUBIN ~
KENNETH PRITIKIN
JOSEPH CAMENZIND, IV
Attorneys for the Plaintiffs

DATED: |! [ [os

RICHARD C. DARWIN
Attorneys for Defendant COMERICA BANK

ORDER
- PURSUANT TO STIPULATION, IT IS SO ORDERED, AS FOLLOWS:
The Case Management Conference currently set for November 20, 2009 at 10:30 a.m.

is hereby vacated. A new Case Management Conference is hereby set for the following date

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and time:

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. The due date

for the Case Management Statement is

DATED:

JUDGE

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